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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 9:19-cr-80056-RK.A-1
                                                  - - - - - - - - - F I L E D BY cot;-                              D.C.

USA
                                      Plaintiff(s),
                                                                                              MAY 17 2019
                                                                                              ANGELA E. NOBLE
                                                                                             CLERK U.S. DIST. CT.
          VS.                                                                                S.D. OF FLA. -W.P.B.



Yujing Zhang        Defendant (s) .
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                                            RELEASE OF EXHIBITS

               The undersigned hereby acknowledges receipt of exhibit(s)
          listed below for the following reason(s):

                 D       Guns, jewelry, currency, drugs, explosives


                0        Item Nos. - - - - - - - - - - - - - - - - - - - - - - - - - - -
                         Oversize records (larger than 10" x 12" x 15")

                D        Item Nos.
                         Stored _b_y__R_e_c_o_r_d_s__
                                                    S_e_c_t_i_o_n_i_·n_:_D
                                                                        _ _M_i-am_i_D
                                                                                 ___F_T_L_D
                                                                                        __               w_P_B_CJ
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                 ~Other              (Explain}:    _E_x_hi~·b_it_s_l-~9----------------~


          c::=J Attachments
                                                                                         ~//] e-"'=""'_
                 (Exhibit list, Order of Court)
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                                                    Agency or Firm:            'u/J/,e_,, l}/enJtt;Q_
                                                    Address:   ,;/6{) 3 llrdalrM J4te_ -IJ66D
                                                                ~ti/Jn/;~, J2L 33.!/bl
          Exhibits Released by:

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                 (Deputy Clerk)                     Telephone:       :J.h/ .-      ?c.23-~392{
                                                    Date:      lbp7/l7
          ORIGINAL - Court File
          cc: Records Section
              Courtroom Deputy
              Counsel of Record
